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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                         :    CRIMINAL NO. 21-222-2 (TFH)
                                                  :
              v.                                  :    VIOLATIONS:
                                                  :    18 U.S.C. §§ 1752(a)(1) and (b)(2)
 GEORGE PIERRE TANIOS,                            :    (Entering and Remaining in a Restricted
                                                  :    Building or Grounds)
                    Defendant.                    :    18 U.S.C. §§ 1752(a)(2) and (b)(2)
                                                  :    (Disorderly and Disruptive Conduct in a
                                                  :    Restricted Building or Grounds)


                                     INFORMATION

       The United States Attorney charges that:

                                          COUNT ONE

       On or about January 6, 2021, within the District of Columbia, GEORGE PIERRE

TANIOS, did unlawfully and knowingly enter and remain in a restricted building and grounds,

that is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol

and its grounds, where the Vice President and Vice President-elect were temporarily visiting,

without lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title
       18, United States Code, Sections 1752(a)(1) and (b)(2))


                                         COUNT TWO

       On or about January 6, 2021, within the District of Columbia, GEORGE PIERRE

TANIOS, did knowingly, and with intent to impede and disrupt the orderly conduct of

Government business and official functions, engage in disorderly and disruptive conduct in and

within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and

otherwise restricted area within the United States Capitol and its grounds, where the Vice President
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and Vice President-elect were temporarily visiting, when and so that such conduct did in fact

impede and disrupt the orderly conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in
       violation of Title 18, United States Code, Sections 1752(a)(2) and (b)(2))

                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            DC Bar No. 481052


                                    By:                    /s/
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